60 F.3d 824NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Martin J. REILLY, Plaintiff--Appellant,v.David G. GRAY, Individually;  Westall, Gray, Kimel andConnolly, A Professional Association in thepractice of law, Defendants--Appellees.
    No. 94-2132.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  June 22, 1995.Decided:  July 7, 1995.
    
      Martin J. Reilly, appellant pro se.  David G. Gray, Jr., Westall, Gray, Kimel &amp; Connolly, Asheville, NC, for appellees.
      W.D.N.C.
      AFFIRMED.
      Before HALL, MURNAGHAN, and LUTTIG, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order granting Defendants' motion for summary judgment on Appellant's state law contract and attorney malpractice claims.  We have reviewed the record and the district court's opinion accepting the recommendation of the magistrate judge and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Reilly v. Gray, No. CA-91-161-1 (W.D.N.C. Aug. 3, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    